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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT                                         FILED
                                                                 for the                                    Jan 28, 2022
                                                                                                            Nov
                                                                                                         CLERK, U.S. DISTRICT COURT

                                                       Eastern District of California
                                                                                                       EASTERN DISTRICT OF CALIFORNIA




                   United States of America
                              v.
                                                                        )
                                                                        )
                                                                        )
                                                                                          SEALED
                                                                              Case No. 2:22-mj-161-AC
                                                                        )
                   LOUIS MENDONSA                                       )
                                                                        )
                                                                        )
                            Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               July 8, 2022 through present       in the county of             Sacramento                     in the
        Eastern          District of           California       , the defendant(s) violated:
          Code Section                                                        Offense Description
18 U.S.C. § 2252(a)(2)                               Distribution of Material Involving the Sexual Exploitation of Minors




          This criminal complaint is based on these facts:

          (see attachment)




            ☒ Continued on the attached sheet.


                                                                                           /s/ Caitlin Thomas
                                                                                                Complainant’s signature

                                                                                               HSI SA Caitlin Thomas
                                                                                                 Printed name and title

Sworn to me and signed via telephone.


Date:      November 28, 2022
                                                                                                 Judge’s signature

City and state:          Sacramento, California                                       Allison Claire, U.S. Magistrate Judge
                                                                                             Printed name and title
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      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST AND SEARCH
                                  WARRANTS

       I, Caitlin Thomas, being duly sworn, hereby depose and state as follows:

                  I.      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent (“SA") with Homeland Security Investigations (“HSI”) and

have been so employed since April 2019. I trained at the Federal Law Enforcement Training

Center and have gained experience through everyday work conducting these types of

investigations. I have received training in the areas of child sexual abuse material (“CSAM”)

and have observed and reviewed numerous examples of child pornography (as defined in 18

U.S.C. § 2256) in all forms of media including computer media. I am authorized to investigate

violations of the laws of the United States, including criminal violations relating to the sexual

exploitation of children, child pornography, coercion and enticement, and transportation of

minors, including violations of 18 U.S.C. §§ 2422, 2423, 2251, and 2252A. I have participated

in investigating federal criminal violations related to high technology or cybercrime, and CSAM.

Additionally, I am a member of the Sacramento Valley Internet Crimes Against Children

(“ICAC”) Task Force. As an SA in the Sacramento Field Office and ICAC Task Force, I

frequently participate in search warrant executions involving child exploitation and pornography

cases. In June 2022, I attended the National Law Enforcement Training on Child Exploitation

which offered classes ranging from investigative techniques and digital forensics. Moreover, I

work closely with HSI forensic examiners throughout these investigations and prosecutions.

       2.      I have conducted and participated in criminal investigations for violations of

federal and state laws including narcotics trafficking, child sexual exploitation, money

laundering, and other organized criminal activity. I have prepared, executed, and assisted in

numerous search and arrest warrants. I have also conducted and participated in criminal and

administrative interviews of witnesses and suspects. I am familiar with the formal methods of

child exploitation investigations, including electronic surveillance, visual surveillance, general

questioning of witnesses, search warrants, and the use of undercover agents. I have participated

in investigations of possession, distribution, receipt, and production of CSAM.


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                                        II.     PURPOSE

       3.      I make this Affidavit in support of an arrest warrant and Criminal Complaint

charging Louis MENDONSA with violating 18 U.S.C. § 2252(a)(2), Distribution of Material

Involving the Sexual Exploitation of Minors.

       4.      Further, I make this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a warrant to search the property located on the person of

Louis MENDONSA (hereinafter referred to as the SUBJECT USER), the SUBJECT USER’s

property including all digital devices in or around the back corner table against the wall in the

west wing of the Starbucks located at 1601 P Street, The Freemont Building, Sacramento, CA

95814 (hereinafter referred to as “SUBJECT PREMISES”), and the SUBJECT USER’s property

located on the porch of the residence located at 1612 18th Street, Sacramento, CA 95814

(hereinafter referred to as “SECOND SUBJECT PREMISES”), all of which are located in the

Eastern District of California and more fully described in Attachment A, for the items described

in Attachment B, both of which are attached and incorporated herein by reference. I submit that

there is probable cause to believe that violations of 18 U.S.C. § 2252(a)(2), (b)(2) (distribution

and receipt of child pornography, and attempts and conspiracies to commit such offenses) have

occurred and that the evidence, fruits, contraband, and instrumentalities of those violations are

located on the SUBJECT USER and at both SUBJECT PREMISES’.

       5.      The statements contained in this affidavit are based in part on information

provided by HSI Special Agents; written reports about this and other investigations that I have

received, directly or indirectly, from other law enforcement agents; information gathered from

the service of administrative subpoenas; orders issued pursuant to 18 U.S.C. § 2703(d); the

results of physical and electronic surveillance conducted by law enforcement agents;

independent investigation and analysis by HSI agents and analysts and computer forensic

professionals employed by the Department of Justice; and my experience, training and

background as a SA with HSI. Because this affidavit is submitted for the limited purpose of

establishing probable cause, I have not included every fact known to me concerning this


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investigation. Instead, I have set forth only the facts that I believe are necessary to establish

probable cause for the requested Complaint and warrants.

       6.      The investigation involves websites dedicated to the advertisement and

distribution of CSAM on a computer network designed to facilitate anonymous communication

over the Internet known as The Onion Router (“Tor”) network. The investigation has revealed

evidence that the SUBJECT USER is an active member of at least four such websites (Websites

A through D, described below) using unique online aliases or usernames on each site, 1 and that

the SUBJECT USER is distributing and facilitating the distribution of CSAM in the Eastern

District of California from the SUBJECT PREMISES. Accordingly, and for the reasons set forth

below, there is probable cause to believe that the SUBJECT USER traffics in, views, and

possesses visual depictions of minors engaged in sexually explicit conduct, and that evidence,

contraband, fruits, and instrumentalities of violations of federal statutes listed above will be

found on the SUBJECT USER and at the SUBJECT PREMISES.
                              III.    STATUTORY AUTHORITY

       7.      Title 18, United States Code, Section 2252 prohibits an individual from

knowingly possessing, accessing with intent to view, receiving, transporting, shipping,

distributing, selling, producing, and reproducing any visual depiction of, or involving, the use of

a minor engaging in sexually explicit conduct, using any means or facility of interstate or foreign

commerce, or shipped or transported in or affecting interstate commerce.

                                      IV.     DEFINITIONS

       8.      The following definitions apply to this Affidavit and its attachments:

               a.      “Bulletin Board” means an Internet-based website that is either secured

       (accessible with a password) or unsecured, and provides members with the ability to view


1
  The unique aliases/usernames are known to law enforcement but anonymized in this affidavit to
protect operational security. Investigation of activity on the various websites described in this
affidavit is ongoing, and disclosure of the unique aliases/usernames may alert other active users
on Tor to the investigation, potentially provoking users to notify others of law enforcement action,
flee, and/or destroy evidence.


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postings by other members and make postings themselves. Postings can contain text

messages, still images, video images, or web addresses that direct other members to

specific content the poster wishes. Bulletin boards are also referred to as “internet

forums” or “message boards.” A “post” or “posting” is a single message posted by a

user. Users of a bulletin board may post messages in reply to a post. A message “thread,”

often labeled a “topic,” refers to a linked series of posts and reply messages. Message

threads or topics often contain a title, which is generally selected by the user who posted

the first message of the thread. Bulletin boards often also provide the ability for members

to communicate on a one-to-one basis through “private messages.” Private messages are

similar to e-mail messages that are sent between two members of a bulletin board. They

are accessible only by the users who sent/received such a message, or by the bulletin

board administrator.

       b.      “Chat,” as used herein, refers to any kind of text communication over the

Internet that is transmitted in real-time from sender to receiver. Chat messages are

generally short in order to enable other participants to respond quickly and in a format

that resembles an oral conversation. This feature distinguishes chatting from other text-

based online communications such as Internet forums and email.
       c.      “Chat room,” as used herein, refers to the ability of individuals to meet in

one location on the Internet in order to communicate electronically in real-time to other

individuals. Individuals may also have the ability to transmit electronic files to other

individuals within the chat room.

       d.      “Child erotica,” as used herein, means materials or items that are sexually

arousing to persons having a sexual interest in minors but that are not necessarily obscene

or do not necessarily depict minors engaging in sexually explicit conduct.

       e.      “Child pornography,” as defined in 18 U.S.C. § 2256(8)(a), is any visual

depiction, including any photograph, film, video, picture, or computer or computer-

generated image or picture, whether made or produced by electronic, mechanical, or


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other means, of sexually explicit conduct, where the production of the visual depiction

involved the use of a minor engaged in sexually explicit conduct.

       f.      “Computer,” as used herein, refers to “an electronic, magnetic, optical,

electrochemical, or other high speed data processing device performing logical or storage

functions, and includes any data storage facility or communications facility directly

related to or operating in conjunction with such device” and includes smartphones, other

mobile phones, and other mobile devices. See 18 U.S.C. § 1030(e)(1).

       g.      “Computer hardware,” as used herein, consists of all equipment that can

receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit

electronic, magnetic, or similar computer impulses or data. Computer hardware includes

any data-processing devices (including central processing units, internal and peripheral

storage devices such as fixed disks, external hard drives, “thumb,” “jump,” or “flash”

drives, which are small devices that are plugged into a port on the computer, and other

memory storage devices); peripheral input/output devices (including keyboards, printers,

video display monitors, and related communications devices such as cables and

connections); as well as any devices, mechanisms, or parts that can be used to restrict

access to computer hardware (including physical keys and locks).
       h.      The “Domain Name System” or “DNS” is a system that translates

readable Internet domain names such as www.justice.gov into the numerical IP addresses

of the computer server that hosts the website.

       i.       “Encryption” is the process of converting data into a code in order to

prevent unauthorized access to the data.

       j.      A “hidden service,” also known as an “onion service,” is a website or

other web service that is accessible only to users operating within the Tor anonymity

network.




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       k.      “Hyperlink” or “link” refers to an item on a web page which, when

selected, transfers the user directly to another location in a hypertext document or to

some other web page.

       l.      The “Internet” is a global network of computers and other electronic

devices that communicate with each other. Due to the structure of the Internet,

connections between devices on the Internet often cross state and international borders,

even when the devices communicating with each other are in the same state.

       m.      “Internet Service Providers” (“ISPs”), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the

Internet. ISPs provide a range of functions for their customers including access to the

Internet, web hosting, email, remote storage, and co-location of computers and other

communications equipment.

       n.      An “Internet Protocol address” or “IP address,” as used herein, is a unique

numeric or alphanumeric string used by a computer or other digital device to access the

Internet. Every computer or device accessing the Internet must be assigned an IP address

so that Internet traffic sent from and directed to that computer or device may be directed

properly from its source to its destination. Most ISPs control a range of IP addresses. IP
addresses can be “dynamic,” meaning that the ISP assigns a different unique number to a

computer or device every time it accesses the Internet. IP addresses might also be

“static,” if an ISP assigns a user’s computer a particular IP address that is used each time

the computer accesses the Internet. ISPs typically maintain logs of the subscribers to

whom IP addresses are assigned on particular dates and times.

       o.      “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under the

age of eighteen.

       p.      “Records,” “documents,” and “materials,” as used herein, include all

information recorded in any form, visual or aural, and by any means, whether in

handmade, photographic, mechanical, electrical, electronic, or magnetic form.


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        q.     “Remote computing service,” as defined in 18 U.S.C. § 2711(2), is the

provision to the public of computer storage or processing services by means of an

electronic communications system.

        r.     “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2), means

actual or simulated (a) sexual intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or opposite sex; (b) bestiality;

(c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the

anus, genitals, or pubic area of any person.

        s.     A “storage medium” is any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, “thumb,” “jump,” or

“flash” drives, CD-ROMs, and other magnetic or optical media.

        t.     The “Tor network” is a computer network available to Internet users that

is designed specifically to facilitate anonymous communication over the Internet. The

Tor network attempts to do this by routing Tor user communications through a globally

distributed network of relay computers, along a randomly assigned path known as a

“circuit.”

        u.     “URL” is an abbreviation for Uniform Resource Locator and is another
name for a web address. URLs are made of letters, numbers, and other symbols in a

standard form. People use them on computers by clicking a pre-prepared link or typing

or copying and pasting one into a web browser to make the computer fetch and show

some specific resource (usually a web page) from another computer (web server) on the

Internet.

        v.     “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes

undeveloped film and videotape, data stored on computer disc or other electronic means

which is capable of conversion into a visual image, and data which is capable of

conversion into a visual image that has been transmitted by any means, whether or not

stored in a permanent format.


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               w.      A “Website” consists of textual pages of information and associated

       graphic images. The textual information is stored in a specific format known as Hyper-

       Text Mark-up Language (HTML) and is transmitted from web servers to various web

       clients via Hyper-Text Transport Protocol (HTTP).

              IV.    RELEVANT BACKGROUND ON THE TOR NETWORK

       9.      The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are uniquely identified by IP addresses, which are used to route

information between Internet-connected devices. Generally, when one device requests

information from a second device, the requesting device specifies its own IP address so that the

responding device knows where to send its response. On the Internet, data transferred between

devices is split into discrete packets, each of which has two parts: a header with non-content

routing and control information, such as the packet’s source and destination IP addresses; and a

payload, which generally contains user data or the content of a communication.

       10.     Websites A, B, C, and D further described below, operate on the Tor network,

which is a computer network available to Internet users that is designed specifically to facilitate

anonymous communication over the Internet. The Tor network attempts to do this by routing

Tor user communications through a globally distributed network of intermediary computers, or

relays, along a randomly assigned path known as a “circuit.” Because of the way the Tor

network routes communications through the relay computers, traditional IP address-based

identification techniques are not effective.

       11.     To access the Tor network, a user must install Tor software. That is most easily

done by downloading the free “Tor browser” from the Tor Project, the nonprofit organization

that maintains the Tor network, via their website at www.torproject.org. The Tor browser is a

web browser that is configured to route a user’s Internet traffic through the Tor network.

       12.     As with other Internet communications, a Tor user’s communications are split

into packets containing header information and a payload and are routed using IP addresses. For

a Tor user’s communications to be routed through the Tor network, a Tor user necessarily (and


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voluntarily) shares the user’s IP address with Tor network relay computers, which are called

“nodes.” The Tor user’s routing information, which includes the user’s destination and

originating IP information, is stored in the header portion of the packet. As the packets travel

through the Tor network, each node can see the address information of the previous node the

communication came from and the next node the information should be sent to. Those Tor

nodes are operated by volunteers – individuals or entities who have donated computers or

computing power to the Tor network for it to operate.

       13.     Because a Tor user’s communications are routed through multiple nodes before

reaching their destination, when a Tor user accesses an Internet website, only the IP address of

the last relay computer (the “exit node”), as opposed to the Tor user’s actual IP address, appears

on that website’s IP address log. In addition, the content of a Tor user’s communications are

encrypted while the communication passes through the Tor network. That can prevent the

operator of a Tor node from observing the content (but not the routing information) of other Tor

users’ communications.

       14.     The Tor Project maintains a publicly available frequently asked questions

(“FAQ”) page, accessible from its website, with information about the Tor network. Within the

FAQ, the Tor Project advises Tor users that the first Tor relay to which a user connects can see
the Tor user’s actual IP address. In addition, the FAQ also cautions Tor users that the use of the

Tor network does not render a user’s communications totally anonymous. For example, in the

Tor Project’s FAQ, the question “So I'm totally anonymous if I use Tor?” is asked, to which the

response is, in bold text, “No.”

       15.     The Tor Network also enables users to operate websites, such as Websites A, B,

C, and D called “hidden services” or “onion services,” in a manner that attempts to conceal the

true IP address of the computer hosting the website. Hidden service websites are accessible only

to users operating within the Tor network. Like other websites, hidden services are hosted on

computer servers that communicate through IP addresses. However, hidden services have

unique technical features that attempt to conceal the computer server’s location.


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       16.     Unlike standard Internet websites, a Tor-based web address is comprised of a

series of at least 16 and as many as 56 algorithm-generated characters, for example

“asdlk8fs9dflku7f,” followed by the suffix “.onion.” Ordinarily, investigators can determine the

IP address of the computer server hosting a website (such as www.justice.gov) by simply looking

it up on a publicly available Domain Name System (“DNS”) listing. Unlike ordinary Internet

websites, however, there is no publicly available DNS listing through which one can query the IP

address of a computer server that hosts a Tor hidden service. So, while law enforcement agents

can often view and access hidden services that are facilitating illegal activity, they cannot

determine the IP address of a Tor hidden service computer server via public lookups.

Additionally, as with all Tor communications, communications between users’ computers and a

Tor hidden service webserver are routed through a series of intermediary computers.

Accordingly, neither law enforcement nor hidden service users can use public lookups or

ordinary investigative means to determine the true IP address – and therefore the location – of a

computer server that hosts a hidden service.

       17.     Hidden service websites on the Tor Network are not “indexed” by search

engines—such as Google—to anywhere near the same degree as websites that operate on the

open Internet. Accordingly, it is much more difficult to perform a Google-type search of hidden
service websites than it is to search open Internet websites for particular content. Users

interested in accessing child exploitation material (or in advertising child exploitation and

pornography websites) therefore keep, maintain, and use directory sites that advertise the web

addresses of hidden services that contain child exploitation related content. Users utilize those

directory sites to identify new web forums, chat sites, image galleries, and file hosts pertaining to

the sexual exploitation of children.

       18.     Based on my training, experience, and information provided to me by other law

enforcement officers, I know that users of online child pornography websites on the Tor network

value their online aliases and personas as a source of bona fides within their communities. A

user may attain greater status within a community of like-minded offenders over a course of time


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via active participation in that community under a particular alias. That participation may

amount to the trafficking of child pornography, moderation of sites, advice to users regarding

safety and security, or other actions. It is therefore common for a user of one child pornography

website on the Tor network to notify users of their aliases on different sites, to maintain a sort of

accrued status on other sites. In fact, as described below, postings made by the SUBJECT USER

on various child pornography websites on the Tor network indicate that the same user utilized

multiple unique usernames across many such sites. The SUBJECT USER is believed to be the

same individual operating on Websites A, B, C, and D utilizing different aliases.

                    V.      FACTS ESTABLISHING PROBABLE CAUSE
       19.     As part of an ongoing child exploitation investigation, HSI Sacramento was

notified of an individual who was believed to be administering 2, moderating 3, and distributing

CSAM on various Tor hidden services dedicated to the sexual exploitation of children from in or

around the Sacramento, California area. This Affidavit references four Tor hidden services

websites, hereinafter, “Website A,” “Website B,” “Website C,” and “Website D”; which are all

dedicated to the sexual exploitation and abuse of children. 4

       20.     Through ongoing undercover operations, law enforcement has monitored several

dark web Tor hidden services dedicated to the sexual abuse of children, including Websites A, B,


2
 I know based on my training and experience and from speaking to other law enforcement
officers that administrators of Tor hidden services are typically the individuals responsible for
creating, maintaining, and operating a darknet marketplace or forum and keeping its content and
design backed up and fully functional.
3
  I know based on my training and experience and from speaking to other law enforcement
officers that moderators are responsible for greeting and socializing with guests, members, and
staff; reviewing messages and images to ensure that they are in line with the rules of the website,
and participating in staff meetings to ensure the safety and success of the website in the
advertising and distributing CSAM. A Global moderator is a trusted step above, and will likely
be assigned to moderate more important forum-related tasks, such as approving new members,
voting on VIP members, or settling disputes between feuding members.
4
 The true names of Websites A, B, C, and D, are known to law enforcement but redacted here in
order to protect the integrity of the ongoing investigation into the users of the sites.


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C, and D. Based upon conversations with SAs who have experience with such investigations, I

know that it is common for individuals to visit, access, or gain membership to more than one

child exploitation hidden service at the same time. Through this investigation, I am familiar with

Websites A, B, C, and D and know that these sites require visitors to create a username and

password to access the site.

         21.      There is probable cause to believe the SUBJECT USER advertised and distributed

CSAM on Website A as further detailed below. The SUBJECT USER is also believed to be

active on Websites B, C, and D; therefore, this affidavit also addresses the SUBJECT USER’S

activity on Websites B, C, and D. Law enforcement has identified the usernames believed to be

used by the SUBJECT USER on Websites A, B, C, and D. The username utilized on Website A

will hereinafter be referred to as “SUBJECT USERNAME 1.” The username utilized on

Website B will hereinafter be referred to as “SUBJECT USERNAME 2.” The username utilized

on Website C will hereinafter be referred to as “SUBJECT USERNAME 3.” The username

utilized on Website D will hereinafter be referred to as “SUBJECT USERNAME 4.” 5 This
Affidavit focuses primarily on the activity conducted on Websites A, B, C, and D by SUBJECT

USERNAMES 1, 2, 3, and 4. Additionally, as detailed below, law enforcement has reason to

believe that MENDONSA is the person who is using SUBJECT USERNAMES 1, 2, 3, and 4.

    A.         Investigation of Website A



5
 These usernames are known to law enforcement but redacted here to protect the integrity of the
ongoing investigation into other users of Websites A, B, C, and D who may be familiar with this
particular user.

Based on my training and experience, I know that users of such hidden services value their online
aliases and personas as a source of bona fides within their communities. A user may attain greater
status or goodwill within a community of like-minded offenders over a course of time via active
participation in that community under a particular alias. That participation may amount to the
trafficking of child pornography, moderation of sites, and advice to users regarding safety and
security, or other actions. It is therefore common for a user of one child pornography website on
the Tor network to carry an alias from one site to another, or to make other users aware that
additional aliases belong to them, to maintain such accrued status or goodwill on other sites.



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       22.     Website A is a child pornography bulletin board that facilitates the advertisement

and distribution of child pornography. Since around or about January 2021, Website A has been

in operation. As part of the investigation into Website A, law enforcement agents viewed,

examined, and documented the contents of Website A.

       23.     To access postings on Website A, users are required to register a free account on

the “[Website A]-Registration” page. The Registration page contains data-entry fields with the

corresponding text, “Username, Password, Confirm Password, Email address, Language, My

timezone.” Without an actively registered member account, visitor’s access to postings on

Website A is restricted to the “Forum Rules” post, posted November 19, 2021. Excerpts from

the “Forum Rules” include:

             • “Permitted age range for posts is 0 to 17, subject to caveats below.

             • Banned pictures and video subjects include hurtcore*, drugged

             children, child is protesting (non-consensual), bullying, blackmailing

             & self-mutilation. Zoophilia is permitted only for 4 years old and older;

             the child must be "OK" with it and not be in distress.

                * Hurtcore is defined as:

             • Anal or Vaginal penetration involving children 3 years old or
             younger.

             • Any penetration causing pain regardless of age.

             • Spanking, whipping etc. causing damage or pain

       24.     After successfully registering and logging into Website A, a user can access any

number of sections, forums, and sub-forums. Some of the sections and forums available to users

include: “Rules,” “Discussion,” “Girls (Original Topics),” “Boys,” and “Board Information.”

Additional accessible sub-forums include: “Chat,” “Requests,” “Hardcore,” “Fetishes,”

“Voyeur,” “Webcam/Selfie,” “Studios,” and “Tech Support.” Some of the sub-forums, such as

“Hardcore,” contain the further selectable categories “Pedo (0-10 years old)” and “Hebe/Ephe

(11-17 years old).”


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       25.     In addition to forums and sub-forums containing posts, Website A includes a “the

Team” page, listing trusted ranked members of Website A who administer, moderate, and

contribute to the operation and continuity of the Forum. The ranked member categories listed on

“the Team” page for Website A include “Administrators,” “Senior Moderator,” “Global

Moderators,” “Moderators,” “Emeritus Administrators,” and “Emeritus Moderators.” During its

investigation into Website A, law enforcement documented “the Teams” web page where

SUBJECT USERNAME 1 is listed as a current “Administrator” of Website A.

       26.     Forum websites that require member registration, such as Website A, maintain

member profile pages for each user. Member profile pages are generally viewable by all

registered members of the website and contain user information including number of contributed

posts, date the member joined the website, user rank (if any), member greeting signature, and the

member’s avatar image.

       27.     On November 25, 2022, I reviewed Website A, particularly the page titled, “the

team,” where SUBJECT USERNAME 1 is listed as one of the administrators. Upon clicking on

the hyperlink for SUBJECT USERNAME 1, I was redirected to SUBJECT USERNAME 1’s

member profile page. This profile lists SUBJECT USERNAME 1’s avatar image, website join

date, number of contributed posts, last active date, and public PGP encryption key. Underneath
the displayed public PGP encryption key 6 is the “User Statistics” in which I saw a website join

6
  “PGP” is also known as Pretty Good Privacy. PGP is a security program used to decrypt and
encrypt messages through digital signatures and file encryptions. PGP works through a
combination of cryptography, data compression, and hashing techniques. PGP uses the public
key system in which every user has a unique encryption key that is known publicly in addition to
a private key that only that specific user knows unless it is shared. A message is encrypted when
a user sends it to someone using the recipients public key. The message is then decrypted when
the recipient opens it with their private key.

The most common reason for PGP encryption use is to enable people to confidentially send
messages and data to each other using a combination of their public and private keys. PGP is
also used to authenticate messages and for integrity checking purposes. PGP creates a digital
signature for private and public keys in order to prove that a sender is the rightful owner of the
message. However, PGP can also be used to confirm that a message reaches the intended
recipient.


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date of December 25, 2021, a last active date of November 25, 2022, and a “Total posts” count

of more than 650.

       28.    Here are a few examples of SUBJECT USERNAME 1’s posts on Website A:

              a.      On July 8, 2022, at 12:44 PM UTC, SUBJECT USERNAME 1 posted an

       image under the topic “Girls Arcade – Chat and Share!” This post was captured by Law

       Enforcement on September 15, 2022. At that time, this post received 201 replies and

       58,463 views. The image depicts what appears to be a prepubescent Caucasian female

       with dirty blonde hair wearing a pink dress with Winnie the Pooh embroidered on the

       front. The female is sitting on what appears to be a bed with a grayish green coloring and

       floral print; one leg is extended out while the other leg is bent bringing the foot inwards

       towards the opposite thigh. The female appears to be very small in stature in proportion

       to the bed she is sitting on and appears to have childlike facial features. The female’s

       pink dress has been pulled up exposing her bare vagina and the female has no visible

       pubic hair. Additionally, there does not appear to be any visible body hair on the female.

              b.      On August 9, 2022, at 10:55 AM UTC, SUBJECT USERNAME 1 posted
       an image under the topic “Girls Butts.” This post was captured by law enforcement on

       September 15, 2022. At that time, this post received 378 replies and 149,060 views. The

       image depicts what appears to be a prepubescent female with colorful leggings and baby

       blue underwear pulled down to her knees. The female has the crown of her head placed

       on the bed, her buttocks lifted upwards in the air, and she is bracing herself with her

       arms. The female’s anus and vagina are exposed to the camera. The female has no

       visible pubic hair or body hair, and the female’s hip development is consistent with that

       of a child. Additionally, the female appears to be small in stature in proportion to the

       objects around her.

              c.      On August 9, 2022, at 11:02 AM UTC, SUBJECT USERNAME 1 posted

       two images under the topic “Sucker Girls.” These posts were captured by law




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enforcement on September 15, 2022. At that time, these posts received 63 replies and

30,795 views. A description of the images are as follows:

              i)      The first image depicts what appears to be a Caucasian minor

       female with dark brown hair and wearing a purple shirt. There is an adult male

       laying down on pink bed sheets with a possible floral print. The male is wearing

       patterned navy underwear with a label reading, “COTTONWORLD.” The adult

       male has his underwear pulled slightly to the side and his erect uncircumcised

       penis and testicles pulled out. It appears that the foreskin has been slightly pulled

       back exposing part of the tip of the penis as the female orally copulates the male.

       The male has visible pubic hair as well as significant amount of body hair on his

       upper legs. The female appears to be a minor as she has a youthful looking face

       in terms of supple skin and the female’s head appears to be smaller and consistent

       with the size of a child’s head in comparison to the male’s body parts.

              ii)     The second image depicts what appears to be a nude prepubescent

       Caucasian female with brown hair. The female is kneeling on beige carpet next to

       what appears to be a bed with green, blue, red, and white plaid bedding and bed

       skirt. A heavy set, nude adult Caucasian male is standing in front of the female.
       The adult male has a significant amount of body hair visible on his legs and

       stomach in addition to pubic hair. The adult male’s erect penis is penetrating the

       female’s mouth. The female appears to be prepubescent as she no breast

       development and her body in comparison to the adult’s body is the size of a

       prepubescent child.

       d.     On August 9, 2022, at 11:19 AM UTC, SUBJECT USERNAME 1 posted

an image under the topic entitled, “The Forum Arcade.” This post was captured by law

enforcement on September 15, 2022. At that time, this post received 373 replies and

57,335 views. The image depicts what appears to be two pubescent females who are

nude, one standing on each side of a pubescent male who is also nude. They are standing


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        in what appears to be a pond of water up to their knees. The females have little breast

        development and slightly visible pubic hair can be seen on the minor female on the left.

        There is very minimal hip development of the females. There is pubic hair visible on the

        minor male; however, the male has no visible chest or arm muscle development. Both

        females and the male have facial features that are consistent with a minor.

                 e.     On August 12, 2022, at 3:05 PM UTC, SUBJECT USERNAME 1 posted

        an image under the topic “Sucker Girls.” This post was captured by law enforcement on

        September 15, 2022. At that time, this post received 63 replies and 30,794 views. The

        image is a close-up image of an erect penis of an adult male sticking out of what appears

        to be the zipper opening of blue jeans. The tip of the penis is placed into the mouth of

        what appears to be a Caucasian minor female with dirty blonde hair. The female is

        holding the shaft of the penis directly below her mouth. The female’s hands appear to be

        small and childlike and the female’s face structure is very small and childlike in

        comparison to the male’s penis and legs.

   B.         Investigation of Website B

        29.      Website B is a child pornography bulletin board that facilitates the advertisement

and distribution of child pornography. Website B determined that it began operating in or about
April 2022. As part of an investigation into Website B, law enforcement agents viewed,

examined, and documented the contents of Website B.

        30.      Similarly to Website A, visitors of Website B are required to register a free user

account in order to access the Forum’s topics, discussions, posts, and sub-forums. After

successfully registering and logging into the website, a user can access any number of sections,

forums, and sub-forums. Some of the sections, forums, and sub-forums available to users

include: “ Rules,” “Discussion,” “Information,” “Boy Videos,” and “Boy Photos.” Posts on

Website B are organized as topic threads that can contain singular or multiple posts within. For

example, under the “Boy Videos” - “Hard” sub-forum, there were more than 200 topics, with

titles such as “Syrian Boys Fuck and Suck,” “Beautiful 12yo happily fucked by man,” “cum in


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mouth videos – large amount,” “10yo sucks again,” and “Sleeping Boys Megathread (+125

videos).” Based on my training and experience, I know that “yo” refers to “years old.”

       31.     Specially ranked members who contribute to the operation of Website B are listed

on “the Team” page. The ranked member categories listed on “the Team” page for Website B

include “Administrators,” “Co-Admin,” “Global Moderators,” and “Moderators.” On “the

Team” page, SUBJECT USERNAME 2 is listed as a current Administrator of Website B.

       32.     On November 25, 2022, I reviewed Website B and its “the Team” page, where

SUBJECT USERNAME 2 is listed as an administrator. Upon clicking on the hyperlink for

SUBJECT USERNAME 2, I was redirected to SUBJECT USERNAME 2’s member profile

page. This profile page lists SUBJECT USERNAME 2’s avatar image, website join date,

number of contributed posts, last active date, and public PGP encryption key. Underneath the

displayed public PGP encryption key is the “User Statistics” in which I saw a website join date

of April 10, 2022, a last active date of November 24, 2022, and a “Total posts” count exceeding

500.

       33.     Next to the total topics is a hyperlink to search the user’s topics. SUBJECT

USERNAME 2 is associated with the following topic threads: “The Toy Factory," “[Website

C],” “Artistic Photos,” “TopicLinks 2.2,” “Admit One Chat,” “Sk8er Boys,” “Freckles!,”
“Wigglers in B/W,” “Boys Sleeping,” “Profile Flair,” “Artistic Beauty of Wiggles,” “Loli Club

Chat,” “Boys Club Chat,” “[Website B] Banner Contest,” “Username Color Change” “[Website

B] Themes,” “The Levels of [Website B],” and “Board Rules.”

       34.     Here are some examples of SUBJECT USERNAME 2’s posts on Website B:

               a.     On November 11, 2022, at 6:37 PM UTC, SUBJECT USERNAME 2

       posted an image under the topic “Boys in B/W” in the forum, “Themed Photo Topics.”

       This post was captured by law enforcement on November 25, 2022. At that time, this

       post received 13 replies and 9,117 views. The image is black and white photo of what

       appears to be a prepubescent male who is nude and laying on his back. The male’s right

       knee is bent with his right foot placed on the floor. The male’s left leg is opened


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outwards and slightly bent at the knee. The male’s right hand is placed at the base of his

flaccid uncircumcised penis. There is no visible pubic hair or body hair on the male.

Additionally, the male lacks chest development. The male’s face is also visible and

appears to have childlike facial features to include supple skin. Additionally, the size of

the male’s penis in comparison to the size of his body is consistent with that of a

prepubescent minor.

       b.      On November 11, 2022, at 12:04 AM UTC, SUBJECT USERNAME 2

posted an image under the topic “Group Photos of 4+ or more Boys N/NN” in the forum,

“Themed Photo Topics.” This post was captured by law enforcement on November 25,

2022. At that time, this post received 18 replies and 4,995 views. The image depicts

what appear to be four Caucasian prepubescent males. Two of the males, who are nude,

with dark brown hair are laying on their backs with their arms bent and placed behind

their heads. They appear to be laying on bare twin mattresses with no covers. The third

male, who is nude with light brown hair, is on his hands and knees and is orally

copulating one of the males laying on their back. The fourth male, with red hair, is orally

copulating the second male who is laying on his back. Due to how the photo was taken,

the body of the fourth male is not visible. There is no visible pubic hair, body hair, or
facial hair on the three males that are visible in the photo. Additionally, there is a lack of

chest and arm muscle development in the three male’s bodies that are visible in the photo.

There is no visible facial hair on the fourth male. Based upon the size of the males

depicted in comparison to the twin size mattresses, the males appear childlike in stature.

       c.      On November 11, 2022, at 12:01 AM UTC, SUBJECT USERNAME 2

posted an image under the topic “Boys Fellating Men” in the forum, “Themed Photo

Topics.” This post was captured by law enforcement on November 25, 2022. At that

time, this post received 129 replies and 34,720 views. The image is a colored image that

depicts what appears to an adult male laying on a bed with a dark colored quilt and

colorful floral print design. The male’s legs are spread open. There is visible body hair


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        on the chest, stomach, arms, armpits, and legs of the adult male. Based upon the fairness

        of the skin, the adult male appears to be Caucasian. Between the legs of the adult male,

        is what appears to be a minor male, due to the significantly smaller stature in comparison

        to the adult male, with light brown hair. This male is laying on his stomach and propped

        up slightly on his elbows. The adult’s erect penis is placed in the mouth of the male.

        There does not appear to be visible body or facial hair on the male laying on his stomach.

        35.      Website B contains images uploaded by other users in which SUBJECT

USERNAME 2 has access to as a member and administrator of Website B. The following is an

example of a posting made by another user on Website B: on July 25, 2022, 2022, at 2:35 PM

UTC, another user posted an image under the topic entitled, “Masturbating Boys.” This post was

captured by law enforcement on November 27, 2022. The image depicts a close-up photo of a

toddler’s penis. An adult male hand is gripping the shaft of the toddler’s penis; the male has an

olive, tan skin tone. The male’s hand is significantly larger in comparison to the toddler’s thigh

and abdomen. Furthermore, it appears that there is a substance on and around the toddler’s penis

as the skin appears shiny and wet unlike the abdomen and thighs.

   C.         Investigation of Website C

        36.      Website C is a membership-based, child-pornography hidden service on the Tor
network dedicated to the advertisement and distribution of child pornography and the discussion

of matters pertinent to the sexual abuse of children. Like Websites A and B, Website C is

currently operational on the Tor network. Website C’s users actively post content depicting

minors engaged in sexually explicit conduct and engage in online discussions involving the

sexual exploitation of minors. Law enforcement’s investigation of Website C determined that it

began operating in or about November 2021.

        37.      After navigating to Website C, users are taken to a page identifying the site by

name and instructing the users to complete a CAPTCHA, which is a challenge-response test used

to determine whether the user attempting to visit the website is human. On or about November

25, 2022, the CAPTCHA required for entry to Website C asked users to “Click on the broken


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circle to solve the captcha.” Directly below those instructions was an image of what appeared to

be two nude prepubescent boys laying on a bed with their penises exposed. Superimposed on

this image were a series of circles, one of which was “broken” or not fully formed or connected.

       38.     Clicking the “broken” circle took the user to a login page for Website C, which

requires users to enter a username and password to access the website. On or about November

25, 2022, a banner at the top of this page identified the name of Website C and depicted what

appeared to be a nude prepubescent boy laying down, with a leaf covering his genitals. After

logging into Website C, users are presented with various forums, including a forum entitled,

“Videos” that contained numerous sub-forums. The sub-forms included “Movies,” “Non-Nude,”

“Softcore,” “Hardcore,” “Preschool,” and “Toddlers.” These sub-forums contained descriptions;

for example, the “Toddlers” forum description is “Boys until 3 years old.” The description for

the “Preschool” forum is “Boys from 3 to 5 years.” Website C also contained a forum entitled,

“Other” which included sub-forums entitled, “Beginners Guide,” “Tech Forum,” and “News and

Current Information.”

       39.     Specially ranked members who contribute to the operation of Website C are listed

on “the Team” page. The ranked member categories listed on “The team” page for Website C

include “Administrators,” “Co-Administrator,” “Senior Moderator,” Global Moderators,”
“Forum Moderators,” “Reup Doctor Chief of Staff,” and “Reup Doctors.”

       40.     On November 25, 2022, I reviewed Website C, particularly “the Team” page,

where SUBJECT USERNAME 3 is listed as one of the Global Moderators. Upon clicking the

hyperlink for SUBJECT USERNAME 3, I was redirected to SUBJECT USERNAME 3’s

member profile page. This profile page depicts SUBJECT USERNAME 3’s avatar image,

website join date, number of contributed posts, last active date, and public PGP encryption key.

Underneath the displayed public PGP encryption key is the “User Statistics” in which I observed

a website join date of January 22, 2022, a last active date of November 25, 2022, an “AoA” of

10-14, and a “Total posts” count of more than 1,600. I know from my training and experience

that the abbreviation “AoA” on CSAM websites refers to “age of attraction.”


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        41.      On November 25, 2022, at 4:26 PM UTC, SUBJECT USERNAME 3 posted an

image under the topic “Little ones nude [Theme]” in the forum, “Preschool.” This post was

captured by law enforcement on November 25, 2022. At that time, this post received 1,004

replies and 152,367 views. The colored image depicts what appears to be a prepubescent male

who is nude with blonde hair. The male is laying on a bed with his arms out to his side and his

right leg crossed over his left leg. The male’s uncircumcised, flaccid penis is visible. The male

has no visible pubic, body, or facial hair. The male lacks chest and arm muscle development.

The male’s facial features are childlike and the size of the male’s body in comparison to the size

of the bed also shows that the male’s body is consistent with that of a child.

        42.      Website C contains images uploaded by other users in which SUBJECT

USERNAME 3 has access to as a member and administrator of Website C. on November 5,

2022, at 10:27 PM UTC, another user posted an image under the topic entitled, “Black and

White Photos,” for which SUBJECT USERNAME 3 “thanked” the user who posted the photo.

A “thank” on Website C is similar to “liking” a post on social media. This post was captured by

law enforcement on November 27, 2022. The image is a black and white photo depicting what

appears to be a prepubescent male who is nude laying on his back on what appears to be a couch.

The male has his knees bent to his chest and feet raised towards the ceiling exposing the male’s
genitals. There is a lack of visible pubic hair, body hair, and facial hair. The male appears to

have childlike facial features to include larger eyes and a smaller nose and mouth. There is an

adult male holding the minor’s leg and inserting his erect penis into the anus of the minor. This

adult male has significant body hair on his legs, arms, chest, and abdomen.

   D.         Investigation of Website D

        43.      Website D is a membership-based, child-pornography hidden service on the Tor

network dedicated to the advertisement and distribution of child pornography and the discussion

of matters pertinent to the sexual abuse of children. Like Websites A, B, and C; Website D is

currently operational on the Tor network. Website D users actively post content depicting

minors engaged in sexually explicit conduct and engage in online discussions involving the


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sexual exploitation of minors. Law enforcement’s investigation of Website D determined that it

began operating in or about February 2022.

       44.     After navigating to Website D, users are taken to a page identifying the site by

name and instructing the users to complete a CAPTCHA, which is a challenge-response test used

to determine whether the user attempting to visit the website is human. On or about November

25, 2022, the CAPTCHA required for entry to Website D asked users to “Click on the broken

circle to solve the captcha.” Directly below those instructions was an image of what appeared to

be two nude, prepubescent girls laying together on a flat surface, with one girl spreading her legs

and exposing her vagina. Superimposed on this image were a series of circles, one of which was

“broken,” or not fully formed.

       45.     Clicking the “broken” circle took the user to a login page for Website D, which

requires users to enter a username and password to access the website. On or about November

25, 2022, a banner at the top of this page identified the name of Website D. After logging into

Website D, users are presented with various forums, including a forum entitled, “Fruit” that

contained numerous sub-forums. These sub-forms included “Non-Nude,” “Softcore,”

“Hardcore,” and “Webcams.” These sub-forums contained instructions that the posted content

should depict “4-12yo girls only.” Other sub-forums in the “Fruit” forum contained similar
instructions regarding the age of the minors that should be depicted in the posted content,

including a sub-form titled “Young Teens,” which was for “[c]ontent involving 13-17yo girls,”

and a sub-forum titled “Babies & Toddlers,” which was for “[c]ontent involving 0-3yo girls.”

Website D also contained a forum entitled, “Community,” which included sub-forums entitled,

“Announcements & Information,” “English Chat,” and “Guides & Tutorials.”

       46.     Specially ranked members who contribute to the operation of Website D are listed

on “the Team” page. The ranked member categories listed on “the Team” page for Website D

include, “Administrators,” “Global Moderators,” and “Fruit & Studios Moderators,” “Stories

Moderators,” “Russian Moderators,” “Indonesian Moderators,” “Japanese Moderators,” and




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“French Moderators.” According to the “the Team” page, SUBJECT USERNAME 4 is listed as

a current Global Moderator of Website D.

       47.     On November 25, 2022, I reviewed Website D, particularly the page titled, “the

Team,” where SUBJECT USERNAME 4 is listed as one of the Global Moderators. Upon

clicking on the hyperlink on SUBJECT USERNAME 4, I was redirected to a member profile

page which listed the SUBJECT USERNAME 4’s avatar image, website join date, number of

contributed posts, last active date, and public PGP encryption key. Underneath the displayed

public PGP encryption key is the “User Statistics” in which I observed a website join date of

February 21, 2022, a last active date of November 25, 2022, and a “Total posts” count of more

than 1,100.

       48.     Next to the total topics statistics, is a hyperlink to search and display the topics

threads created by SUBJECT USERNAME 4. After clicking the hyperlink I observed the

following topic thread titled: “Girls with Animals (NO BEASTIALITY!),” “Artistic

Photography,” “Black & White Photography,” “Sweet Feet,” Ice cream girls,” “[images] Girls in

an indoor pool setting,” and “[Website B] – New Boy Board.”

       49.     The following are examples of postings made by SUBJECT USERNAME 4 on

Website D:
               a.     On November 23, 2022, at 3:54 PM UTC, SUBJECT USERNAME 4

       posted an image to the topic entitled, “Latest Cum Target [THEME],” on the forum

       entitled, “Themed Images.” This post was captured by law enforcement on November

       25, 2022. At that time, this post received 890 replies and 501,798 views. The image is a

       colored image of what appears to be a prepubescent female who is laying on her back on

       the floor while nude. The female has blonde hair and what appears to be a blue bow in

       her hair. The female has no visible pubic hair and has chest and hip development that is

       consistent with a prepubescent child.

               b.     On November 19, 2022, at 5:29 PM UTC, SUBJECT USERNAME 4

       posted an image to the topic entitled, “Girls Butt Mega Thread,” on the forum entitled,


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       “Themed Images.” This post was captured by law enforcement on November 25, 2022.

       At that time, this post received 893 replies and 448,246 views. The image is a colored

       image of what appears to be a minor female who is laying on her stomach, propped up

       slightly on her elbows, and looking back at the camera while nude. The female’s legs are

       spread apart and bent at the knees exposing her buttocks and pubic area. Based upon the

       female’s facial features, lack of body hair and pubic hair, and the small stature of the

       female, it appears the female is prepubescent.

              c.      On November 13, 2022, at 5:37 PM UTC, SUBJECT USERNAME 4

       posted an image to the topic entitled, “Tween/hebe girls (Open Thread!),” on the forum

       entitled, “Themed Images.” This post was captured by law enforcement on November 25,

       2022. At that time, this post received 231 replies and 127,162 views. The image is a

       colored image of what appears to be a pubescent female with light brown hair who is

       sitting and leaning slightly backwards while nude. The female’s legs are spread, and her

       hands are wrapped around her legs to spread the labia of her vagina exposing the vaginal

       opening. The female has no visible pubic or body hair; however, she does have slight

       breast development. Typed within the post above the image is the following: “An 11 Pic.

       [hyperlinked] Pedobum Album if you want more.”
       50.    Website D contains images uploaded by other users in which SUBJECT

USERNAME 4 has access to as a member and administrator of Website D. The following is an

example of a posting made by another user on Website D that SUBJECT USERNAME 4 had

access to: on September 11, 2022, at 4:20 AM UTC, a user posted an image under the topic

entitled, “Black and White Photos” in which SUBJECT USERNAME 4 “thanked” the user on

the site. This post was captured by law enforcement on November 27, 2022. The image is a

black and white image of what appears to be a prepubescent female. The female is sitting on her

buttocks with her knees bent, pulled towards her chest, and spread outwards. The female’s pubic

area is exposed to the camera. There is no visible body hair or pubic hair. The female has no

breast development.


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    E.         Basis for Law Enforcement’s Belief that SUBJECT USERNAME 1, SUBJECT
               USERNAME 2, SUBJECT USERNAME 3, and SUBJECT USERNAME 4 are
               Operated by the Same Individual

         51.     Through this investigation, law enforcement has reviewed multiple posts made by

SUBJECT USERNAMES 1, 2, 3, and 4 where the user addresses his ownership of the separate

SUBJECT USERNAME alias’, linking his identity across Websites A, B, C, and D. As noted

above in this affidavit, this is common for users on the dark web so that they can prove their

credibility and display their duration of operation on the dark web. Below are a few examples of

such posts.

         52.     On February 27, 2022, SUBJECT USERNAME 4 made the following post on

Website D, voicing ownership of SUBJECT USERNAME 1 and SUBJECT USERNAME 2:




         “Nice to meet all of you! If any of you like boys you might know me from [another Tor

         website known to law enforcement] and [another Tor website known to law enforcement]

         as PREVIOUS SUBJECT USERNAME 7, from [another Tor website known to law
         enforcement] as SUBJECT USERNAME 1, and currently Website B as SUBJECT

         USERNAME 2 . . . . Now I’m SUBJECT USERNAME 4 . . . .”




7
  The name of the PREVIOUS SUBJECT USERNAME is known to law enforcement.
Investigation into the websites in which the SUBJECT USER is active on remains ongoing and
disclosure of the name of this PREVIOUS SUBJECT USERNAME would potentially alert
active website users to the investigation, potentially provoking users to notify other users of law
enforcement action, flee, and/or destroy evidence.


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       53.    On February 14, 2022, SUBJECT USERNAME 3 made the following post on

another Tor hidden service website known to law enforcement which is dedicated to the sexual

exploitation and abuse of children, that he was the same user as SUBJECT USERNAME 1, and a

PREVIOUS SUBJECT USERNAME utilized on a dark web site that has since been taken down

by law enforcement. Additionally, SUBJECT USERNAME 3 mentions his association with

Websites A and B.




         “Greetings to all at [known website]! It is I, [SUBJECT USERNAME 1] aka

         [SUBJECT USERNAME 3] aka [PREVIOUS SUBJECT USERNAME]. You can find

         my public key in the link in my signature, or at [Website B], [Website A], etc. . . .”

SUBJECT USERNAME 1’s signature on this known site includes his username in a block font, a

logo or mascot that appears to be associated with SUBJECT USERNAME 1, and the following

reference:



         “Admin @ Website A / Website B * GMod @ Website C / Website D”



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        54.      Additional investigation revealed that an individual with this PREVIOUS

SUBJECT USERNAME was an active member of other child sexual abuse material websites on

the Tor network, and the same individual likely operated and continues to operate accounts and

administer child sexual abuse websites under multiple claimed aliases. Law enforcement believes

this to be true based upon the following post on a known child sexual abuse website on the Tor

network:




        “I am [SUBJECT USERNAME 1] (aka [SUBJECT USERNAME 4] on [WEBSITE D],
        [SUBJECT USERNAME 3] on [WEBSITE C], and [SUBJECT USERNAME 2] at
        [WEBSITE B]. Older timers might remember me as [PREVIOUS SUBJECT
        USERNAME] from way back . . . .”

   F.         Identification of the SUBJECT USER as Louis MENDONSA and of the
              SUBJECT PREMISES

        55.      To identify the user who was operating the PREVIOUS SUBJECT USERNAME

that is linked to SUBJECT USERNAMES 1, 2, 3, and 4; law enforcement, with the assistance

from analysts, conducted a search through historical user data associated with websites dedicated

to the sexual exploitation of minors that were previously operational on the Tor network. The

United States Department of Justice Child Exploitation & Obscenity Section (“CEOS”) has been

investigating users of a historical membership-based hidden service on the Tor network which

operated in 2018. This was a Tor hidden service website dedicated to CSAM. Many of the users

on the Tor hidden service website posted images of CSAM, requested images of CSAM, and

encouraged members of the website to produce and upload images and videos of CSAM. In



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March 2019, HSI SAs obtained a federal warrant to search the contents of this hidden service.

After obtaining the search warrant, Fresno HSI provided a copy of the site’s contents to CEOS

for additional analysis. Included in the contents of the site was user registration information such

as usernames, login passwords, registration dates, and number of posts. The investigation of this

website identified an individual accessing the website under a moniker that the SUBJECT USER

is still referencing in posts present day; therefore, in effort to protect the integrity of this ongoing

investigation, this username is referred to as PREVIOUS SUBJECT USERNAME. Among the

information provided was the PREVIOUS SUBJECT USERNAME's password, which was

associated with a specific professional baseball team in the United States.

        56.     To identify the user who was operating the PREVIOUS SUBJECT USERNAME,

law enforcement conducted public search engine queries for social media accounts associated

with the PREVIOUS SUBJECT USERNAME. The search revealed an Instagram 8 account with
an account username that was identical to that of the PREVIOUS SUBJECT USERNAME. The

profile image associated with the Instagram account depicted a baseball with the name of the

same professional baseball team written across the baseball as that of the password for the

PREVIOUS SUBJECT USERNAME account on the hidden service that operated in 2018.

        57.     On or about September 22, 2022, United States Magistrate Judge Richard A.

Lloret, Eastern District of Pennsylvania, issued an order pursuant to 18 U.S.C. § 2703(d) to

Instagram for information associated with the account of PREVIOUS SUBJECT USERNAME

with a vanity name of Louis Goodrich. On or about October 14, 2022, Instagram provided the

following information regarding the following Instagram account:

                Username: [PREVIOUS SUBJECT USERNAME] (hereinafter referred to

                “Instagram Account A”)

                Registered Email: [PREVIOUS SUBJECT USERNAME]@gmail.com

                Registration Date: 2016-05-14 03:43:51 UTC

8
 Instagram is an American photo and video sharing social networking service founded in 2010,
and later acquired by Meta Platforms Inc.


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       58.     Following the identification of this Instagram account, additional public search

engine queries were conducted for the PREVIOUS SUBJECT USERNAME. An account was

identified with a username of PREVIOUS SUBJECT USERNAME. The profile photo

associated with the account was of a baseball with the same professional baseball team name on

the ball as that of Instagram Account A. After locating this Pinterest account, additional public

search engine queries were conducted, and a second Pinterest account was identified with a

username consisting of a combination of SUBJECT USERNAME 1 and the PREVIOUS

SUBJECT USERNAME.

       59.     Additionally, a Facebook account was identified with the vanity name “Louis

Goodrich.” This Facebook account is currently following 9 two other accounts, one of which is
associated with the same professional baseball team as that of the password for the PREVIOUS

SUBJECT USERNAME and as the profile photos on the Pinterest and Instagram accounts.

       60.     After law enforcement located the Facebook and Pinterest accounts social media

accounts identified with the vanity name “Louis Goodrich,” the United States sought additional

18 U.S.C. § 2703(d) orders for these accounts. On or about September 22, 2022, United States

Magistrate Judge Richard A. Lloret, Eastern District of Pennsylvania, issued the orders for the

Facebook and Pinterest accounts.

       61.     On or about October 5, 2022, Pinterest provided the following information

associated with two accounts:

               Username: PREVIOUS SUBJECT USERNAME (hereinafter referred to as

               “Pinterest Account A”

               Email: [PREVIOUS SUBJECT USERNAME]@gmail.com

               Created: 2016/04/14 05:14:16



9
  Users of the Facebook social media platform can choose to publicly display interests, and or be
served content from accounts associated with such interests, by “following” those accounts. For
example, a Facebook user interested in the San Jose Sharks hockey team may choose “follow”
the San Jose Sharks hockey team account to regularly see updates and posts by that account.


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               Username: Combination of SUBJECT USERNAME 1 and PREVIOUS

               SUBJECT USERNAME (hereinafter referred to as “Pinterest Account B”)

               Email: [Combination of SUBJECT USERNAME 1 and PREVIOUS SUBJECT

               USERNAME@icloud.com]

               Registration Date: 2021/12/13 14:22:06

As part of the Pinterest return for Pinterest Account B, Pinterest provided IP address

73.12.236.49, as an IP address that was accessed by the user account. On or about October 11,

2022, a Department of Homeland Security Summons was issued to Comcast for information

regarding IP address 73.12.326.49, that was accessed on multiple occasions between December

13, 2021, and May 3, 2022. On November 23, 2022, Comcast responded to the summons and

provided the following information regarding IP address 73.12.236.49, accessed by Pinterest

Account 2. The subscriber’s name was STARBUCKS-S05883 STARBUCKS with a service

address of 1501 16TH St. Unit 221, Sacramento, CA 95814-6072. This is the address of “The

Fremont Building,” which is the apartment complex with units located above Starbucks. This is

the same Starbucks coffee house with a listed address of 1601 P Street, The Fremont Bldg.,

Sacramento, CA 95814 (the SUBJECT PREMISES). As such, it appears the user of Pinterest

Account B accessed the Internet at the SUBJECT PREMISES.
       62.     On or about October 14, 2022, Facebook provided the following information

associated with the Facebook account of Louis Goodrich:

                   User ID: 100069446637159

                   Registered Email: [Combination of SUBJECT USERNAME 1 and

                   PREVIOUS SUBJECT USERNAME]@icloud.com

                   Registration Date: 2021-06-23 06:29:43 UTC

Facebook also provided IP address history and identifying information about the Internet web

browser and operating system the user appears to be utilizing to log into the account. A review of

the provided information revealed the user appears to be using the Mozilla Firefox 5.0 web

browser and utilizing a MacIntosh, Intel Mac OS X 10.15.


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       63.     Law enforcement continued to conduct additional searches for the PREVIOUS

SUBJECT USERNAME. In doing so, law enforcement located a CyberTipline report prepared

by the National Center for Missing and Exploited Children 10 (“NCMEC”) associated with the

Facebook account “Louis Goodrich” with user ID 100009896286623. On April 15, 2018,

NCMEC received CyberTipline Report 30815114 filed by Facebook. Facebook stated that the

Louis Goodrich account with user ID 100009896286623 uploaded two (2) images of clothed

minors that were classified as “apparent child pornography (unconfirmed)” on February 4, 2018.

The email address associated with the reported Facebook account was [PREVIOUS SUBJECT

USERNAME]@gmail.com. Facebook reported that the e-mail address had been verified. I know

based on my training and experience that a verified email address indicates the user provided a

valid email address and confirmed access to the email account.

       64.     After locating the e-mail address [PREVIOUS SUBJECT

USERNAME]@gmail.com, further public search engine queries were conducted for accounts

linked to that email address. A PayPal account was identified and linked to that same

[PREVIOUS SUBJECT USERNAME]@gmail.com email address. After determining the linked

PayPal account, additional searches on PayPal were conducted for the PREVIOUS SUBJECT

USERNAME. A second PayPal account was identified as being registered to [PREVIOUS

SUBJECT USERNAME]@yahoo.com.

       65.     After identifying both PayPal accounts, the United States sought orders pursuant

to 18 U.S.C. § 2703(d) for information regarding both accounts. On or about September 22,

2022, United States Magistrate Judge Richard A. Lloret, Eastern District of Pennsylvania, issued

an order for both PayPal accounts. On or about September 28, 2022, PayPal provided a

consolidated response to the order and provided the following information:

               Name: Louis MENDONSA


10
  NCMEC receives complaints via their CyberTipline from Internet Service Providers,
Electronic Service Providers, and others. NCMEC creates reports and forwards the reports to law
enforcement for further investigation.


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               Email Addresses: louis@calgoldenbears.com (Confirmed), [PREVIOUS

               SUBJECT USERNAME]@gmail.com 11(Confirmed)

               Account #: 1192664714789424889

               Time Created: Sat, 07 May 2016 05:39:17

               Phone Numbers: 9163084285 (Confirmed), 9169952813

               Addresses: 2022 10th Street, Sacramento, CA 95818 and 609 16th Street D,

               Sacramento, CA 95814.

       66.     After identifying the PREVIOUS SUBJECT USER as Louis MENDONSA, law

enforcement started to investigate this individual. In or around October 2022, a search of records

held by the California Department of Motor Vehicle Licensing for MENDONSA revealed the

following information:

               NAME: LOUIS DONALD MENDONSA

               ADDRESS: 2022 10th ST, SACRAMENTO, CA 95818

               SEX: M

               HGT: 600

               WGT: 240

               HAIR: GRY

               EYES: BLU

 [AGENT’S NOTE: A search of law enforcement databases revealed that MENDONSA does not

 appear to have ever been associated with the above noted address.]

       67.     In or about October 2022, I obtained Sacramento County Department of Human

Assistance Benefits Electronic Benefit Transfer (“EBT”) transaction records for MENDONSA.

According to the records, MENDONSA is homeless and has no cell phone. Reviewing the

transactions, I noted that a majority of the EBT transactions were conducted at Peace Market




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located at 1801 O St, Sacramento, CA 95811. Additionally, there were a few transactions at the

Safeway located at 1814 19th St, Sacramento, CA 95811.

       68.    On November 2, 2022, law enforcement conducted surveillance at the Peace

Market and Safeway from which MENDONSA previously purchased items. At approximately

4:25 p.m., law enforcement observed a Caucasian male matching the likeness and appearance of

MENDONSA walk into Peace Market. MENDONSA was wearing what appeared to be gray

sweatpants, white Nike shoes, and a black and orange hat. On November 3, 2022, I reviewed

MENDONSA’s EBT records and confirmed that MENDONSA utilized a welfare card to

purchase items from Peace Market on November 2, 2022, at 4:26 p.m.

       69.    On November 4, 2022, I conducted surveillance in the vicinity of Peace Market,

where MENDONSA was seen on November 2, 2022. At approximately 10:40 a.m., I saw an

individual matching the likeness and appearance of MENDONSA smoking outside of the

Starbucks located at 1601 P St, Sacramento 12, CA (SUBJECT PREMISES). MENDONSA was
using a tablet which appeared to be an iPad. At approximately 10:50 a.m., MENDONSA was

sitting in the Starbucks at a table utilizing a MacBook Pro laptop. Approximately thirty minutes

later, I learned from a CEOS investigative analyst who was currently on Websites A and C and

that SUBJECT USERNAMES 1 and 3 were then active on Websites A and C. At the same time,

I saw that MENDONSA was using his laptop at the SUBJECT PREMISES. I could not see the

laptop screen as MENDONSA positioned himself on the table in the corner of the west wing of

the SUBJECT PREMISES and angled himself and the laptop away from customers. Below are

two photos showing where MENDONSA was observed sitting in the SUBJECT PREMISES.




12
  This Starbucks location is the same as the SUBJECT PREMISES which matched the IP
address for the Pinterest account.


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       70.     Also on November 4, 2022, I obtained Sacramento Police Department (“SPD”)

Report #2012-95701 detailing that on April 9, 2012, it was reported that MENDONSA was

showing pornographic images on his laptop to another individual while at a different Starbucks

location. The reporting party stated the following: “I saw images of young men performing oral

sex…They were clearly not for scientific purposes. The images were for sexual stimulation.

Some of the images were disturbing, which included what appeared to be young boys,

approximately 12 years old, with their penises exposed…” The report further detailed that SPD

officers responded to the call and spoke with the reporting party. After speaking with the

reporting party, SPD officers contacted MENDONSA. MENDONSA consented to a search of

his computer. The SPD officers attempted to lift MENDONSA’s computer from his lap,

however, the power cord disconnected, and the laptop immediately shut down. While one of the

officers was holding MENDONSA’s computer, MENDONSA stated that he was on parole for

288 PC and that they could search him and his computer any time. That same day,
MENDONSA was arrested based upon a violation of parole. MENDONSA’s computer was later

submitted to a forensic examiner; following review, it was determined that there was no CSAM



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located on the laptop. However, the forensic examiner noted a significant amount of adult

pornography. Additionally, the forensic examiner noted that CCleaner 13 software was installed

on the computer and had been run on April 9, 2012, at 1728 hours. It was further noted that

officers contacted MENDONSA regarding these allegations on April 9, 2012, at approximately

1747 hours. MENDONSA’s Parole Agent was advised of the aforementioned facts. The Parole

Agent advised that one of MENDONSA’s conditions of release was that he not have any kind of

pornography. As such, the adult pornography located on MENDONSA’s computer was in

violation of his parole.

[AGENT’S NOTE: MENDONSA was listed as a TRANSIENT during the encounter and booking

of evidence on April 9, 2012.]

       71.      Law enforcement continued conducting surveillance at the same Starbucks

location. Between November 6, 2022, and November 18, 2022, with the exception of November

15, 2022, MENDONSA was seen occupying the same back corner table at the SUBJECT

PREMISES at approximately 6:00 a.m. nearly every day. On November 4, 2022, I saw

MENDONSA at the SUBJECT PREMISES and communicated with an investigative analyst

who was currently on Website C. The investigative analyst told me that the SUBJECT USER

was online and active on Website C near and around the same times that I saw him on his laptop

in Starbucks.

       72.      Similarly, on November 9, 2022, an investigative analyst who was currently on

Website D told me the SUBJECT USER was online status and activity on Website D near and

around the same time he was observed on his laptop in Starbucks. The investigative analyst

captured the following post made by SUBJECT USERNAME 4 on November 9, 2022, on 3:47



13
   CCleaner is a software utilized to clean potentially unwanted files left by certain programs,
including Internet Explorer, Firefox, Googled Chrome, Winzip, etc. along with browsing history,
cookies, recycle bin, memory dumps, file fragments, log files, application data, and more.
CCleaner can also uninstall programs or modify the list of programs that execute on startup. It
was originally developed for Microsoft Windows only, but in 2012, a macOS version was
released. Additionally, an Android version was released in 2014.


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PM UTC: multiple images were posted to a topic entitled, “Daily NN picture thread,” in the

forum entitled, “Non-Nude Images.” This post received 2,731 replies and 480,642 views at the

time it was captured. These photos depict a prepubescent female with olive skin tone and light

brown hair wearing a light blue two-piece swimsuit. The female is standing in the pool on what

appears to be the second step and hanging on to the silver handrail. This female has no hip or

breast development. Additionally, this female appears to have childlike facial features.

       73.     While conducting surveillance on the SUBJECT PREMISES on November 9,

2022, an HSI SA observed MENDONSA walk away from his MacBook Pro and leave his

computer screen up and unlocked while he stepped outside for a smoke break. Upon closer

observation, another HSI SA observed that MENDONSA had the Tor browser installed and

opened as indicated by a small dot under the application which was visible on his screen. Based

on my training and experience, I know that when a small dot appears under an application on

Apple laptops it indicates that the specific application is open and running. The HSI SA in

Starbucks near MENDONSA’s computer did not toggle between the open applications to view

the Tor browser. Below are two photos taken by an HSI SA depicting MENDONSA’s computer

on November 9, 2022. The first photo depicts the Firefox Browser open with three tabs open:

Flickr, Pinterest, and the main page.




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       74.     As shown above, multiple applications are visible on the main page of Firefox.

Of note, is the icon with a red box and white letters that reads “is.” Beneath this icon is the

website, titled “imgsrc.” I know based on my training, experience, and research that Imgsrc.ru is

a free photo-sharing website based in Russia. Since at least in or about June 2012, U.S.

Immigration and Customs Enforcement's (“ICE”), HSI's Cyber Crimes Center (“C3”), Child

Exploitation Investigations Unit (“CEIU”), Victim Identification Program (“VIP”), as well as

various international law enforcement agencies, have been investigating Imgsrc.ru as it is

extensively known to be used by persons interested in exchanging images depicting CSAM to

meet and become trading partners.

       75.     The second photo depicts a close-up of the first photo to focus on the Tor browser

application on the “dock.” The dot underneath the application can be seen more clearly in this
photo. Also visible in this photo is an image of what appears to depict a minor male, based on

male’s childlike facial features.



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        76.     MENDONSA’s criminal history includes:

                a.     On August 10, 1993, MENDONSA was sentenced to 14 years in prison

        for two counts of California Penal Code (CA PC) 288(C) – LEWD/LASCIV ACTS W/

        CHILD OF 14/15 and nine additional counts of CA PC 288(A) – LEWD OR LASCIV

        ACTS W/ CHILD UNDER 14;

                b.     On September 3, 2008, MENDONSA was sentenced to 32 months in

        prison for CA PC 290.018(b) FAIL REG W/ FEL SEX OFF/PR;

                c.     On April 9, 2012, MENDONSA was arrested for violation of CA PC 3056

        – VIOLATION OF PAROLE. It appears that MENDONSA was subsequently released

        to another jurisdiction.

   G.         Identification of the SECOND SUBJECT PREMISES

        77.     While conducting surveillance on MENDONSA, law enforcement has observed

MENDONSA accessing the porch area of the residence located at 1612 18th Street, Sacramento,

CA 95814. On November 2, 2022, law enforcement observed MENDONSA depart the Peace

Market, head south on 18th Street, and sit on a bench in front of 1612 18th Street. At


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approximately 5:55 p.m., MENDONSA walked up the stairs of the residence located at 1612

18th Street. MENDONSA then retrieved other items that appeared to be a backpack and a rolled

up sleeping pad from the left side of the porch. MENDONSA shortly thereafter departed this

residence with what appeared to be his belongings.

       78.     On November 4, 2022, at approximately 12:10 p.m., I saw MENDONSA on the

left side of the porch of the residence located at 1612 18th Street. Based upon the surveillance

from November 2, 2022, I knew that MENDONSA stored his belongings on the porch of the

residence. When I saw MENDONSA access the porch, it was unclear whether he was retrieving

an item from what was believed to be his belongings or dropping off an item. After

MENDONSA exited the porch, I continued surveillance on him. I saw MENDONSA depart the

porch and immediately walk to the SUBJECT PREMISES. Upon confirming that MENDONSA

entered back into the SUBJECT PREMISES, surveillance was concluded.

       79.     On November 10, 2022, law enforcement observed MENDONSA depart the

SUBJECT PREMISES AT 12:17 pm and arrive at the SECOND SUBJECT PREMISES at

approximately 12:22 pm. According to an HSI SA conducting surveillance inside of the

Starbucks, MENDONSA returned to the SUBJECT PREMISES without his backpack.
         VI.     CHARACTERISTICS COMMON TO CONSUMERS OF CHILD
                                 PORNOGRAPHY
       80.     In conducting investigations involving child pornography and the sexual abuse of
children, I have learned that individuals who create, possess, receive, distribute, advertise, or

access with intent to view child pornography (collectively, “consumers” of child pornography)

have a sexual interest in children and in images of children. Based upon my knowledge,

experience, and training in child pornography investigations, and the training and experience of

other law enforcement officers with whom I have had discussions, I know there are certain

characteristics common to such consumers of child pornography, as outlined in the following

paragraphs.




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       81.     The majority of consumers of child pornography are persons who have a sexual

attraction to children. They receive sexual gratification and satisfaction from sexual fantasies

fueled by depictions of children that are sexual in nature.

       82.     Consumers of child pornography may collect sexually explicit materials, which

may consist of photographs, magazines, motion pictures, video tapes, books, slides, computer

graphics, or digital or other images for their own sexual gratification. These individuals often

also collect child erotica, which may consist of images or text that do not rise to the level of child

pornography, but which nonetheless fuel their deviant sexual fantasies involving children. Non-

pornographic, seemingly innocuous images of minors are often found on computers and digital

storage devices that also contain child pornography, or that are used to communicate with others

about sexual activity or interest in children. Such images are useful in attempting to identify

actual minors depicted in child pornography images found during the execution of a search

warrant. In certain cases, such images may also assist in determining the origins of a particular

child pornography image or series of images.

       83.     Many consumers of child pornography maintain their sexually explicit materials

for several years and may go to great lengths to conceal and protect from discovery, theft, and

damage their collections of illicit materials. They regularly maintain their collections in the
privacy and security of their homes, inside their cars, on their person, or in cloud-based online

storage. Depending on their technical expertise, access to child pornography on seemingly “safe”

networks like Tor, or struggle with addiction to child pornography, many consumers of child

pornography have been found to download, view, and then delete child pornography on their

digital devices on a cyclical and repetitive basis.

       84.     Importantly, evidence of such activity, including deleted child pornography, often

can be located on these individuals’ computers and digital devices through the use of forensic

tools. Indeed, the very nature of electronic storage means that evidence of the crime is often still

discoverable for extended periods of time even after the individual “deleted” it.




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       85.      Consumers of child pornography often seek out like-minded individuals, either in

person or on the Internet, to share information and trade depictions of child pornography and

child erotica as a means of gaining status, trust, acceptance, and support. This contact helps

these individuals to rationalize and validate their deviant sexual interest and associated behavior.

Furthermore, individuals who would have knowledge about how to access a hidden and

embedded chat site would have gained knowledge of its location through online communication

with others of similar interest. The different Internet-based vehicles used by such individuals to

communicate with each other include, but are not limited to, e-mail, bulletin boards, chat sites,

web forums, instant messaging applications, and other similar vehicles of communication.

       86.      Consumers of child pornography often collect, read, copy, or maintain names,

screen names or nicknames, addresses (including e-mail addresses), phone numbers, or lists of

persons who have advertised or otherwise made known in publications and on the Internet that

they have similar sexual interests. These contacts are maintained as a means of personal referral,

exchange, or commercial profit. These names may be maintained in the original medium from

which they were derived, in written hardcopy, on computer storage devices, or merely on scraps

of paper.

       87.      Based upon training and experience, I know that persons engaged in the
production and possession of child erotica are also often involved in the production and

possession of child pornography. Likewise, I know from training and experience that persons

involved in the production and possession of child pornography are often involved in the

production and possession of child erotica.

       88.      Based on my training, knowledge, experience, and conversations with others in

law enforcement, I understand that an individual who possesses images and/or videos depicting

child pornography on one digital storage device and/or Internet email or online storage account is

likely to possess child pornography on additional digital storage devices and/or Internet email or

online storage accounts that he possesses or controls. Additionally, based on this training and

experience, I understand that even if the target uses a portable device (such as a mobile phone) to


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access the Internet and child pornography, it is more likely than not that evidence of this access

will be found on MENDONSA’s person and belongings, as set forth in Attachment A-1,

including on digital devices other than the portable device (for reasons including the frequency

of “backing up” or “synching” mobile phones to computers or other digital devices) or on any

device found on MENDONSA’s person. This is true even though MENDONSA claims to be a

transient. In my experience, child pornography collections are valued highly by consumers of

child pornography and these images are often kept close at hand, in a location that is accessible

to a consumer of child pornography. Thus, the collection, or evidence of the collection, is likely

on his person.

       89.       Based on all of the information contained herein, I believe that MENDONSA

displays characteristics common to consumers of child pornography. In particular,

MENDONSA obtained and used Tor network software, acted as a staff member for Website A

and Website B, acted as a general moderator for Website C and Website D, and was a member of

at least four other child pornography hidden services known to law enforcement. In my

experience, individuals who rely on access to materials depicting the sexual abuse of children

through the Tor network tend to have sophisticated expertise with computers and they are

typically individuals who are taking steps to hide their viewing of child exploitation materials.
       VII.      BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY

       90.       I have had training and experience in the investigation of computer-related

crimes, including those involving child pornography. Based on my training and experience, I

know the following:

                 a.     Computers and digital technology are the primary way in which

       individuals interested in child pornography interact with each other. Computers basically

       serve four functions in connection with child pornography: production, communication,

       distribution, and storage.

                 b.     Digital cameras and smartphones with cameras save photographs or

       videos as a digital file that can be directly transferred to a computer by connecting the


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camera or smartphone to the computer, using a cable or via wireless connections such as

“WiFi” or “Bluetooth.” Photos and videos taken on a digital camera or smartphone may

be stored on a removable memory card in the camera or smartphone. These memory

cards are often large enough to store thousands of high-resolution photographs or videos.

       c.      The computer’s ability to store images in digital form makes the computer

itself an ideal repository for child pornography. The size of the electronic storage media

(commonly referred to as the hard drive) used in home computers has grown

tremendously within the last several years. Electronic storage media of various types – to

include computer hard drives, external hard drives, CDs, DVDs, and “thumb,” “jump,” or

“flash” drives, which are very small devices that are plugged into a port on the computer

– can store thousands of images or videos at very high resolution. It is extremely easy for

an individual to take a photo or a video with a digital camera or camera-bearing

smartphone, upload that photo or video to a computer, and then copy it (or any other files

on the computer) to any one of those media storage devices. Some media storage devices

can easily be concealed and carried on an individual’s person. Smartphones and/or

mobile phones are also often carried on an individual’s person.

       d.      The Internet affords individuals several different venues for obtaining,
viewing, and trading child pornography in a relatively secure and anonymous fashion.

       e.      Individuals also use online resources to retrieve and store child

pornography, including services offered by Internet Portals such as Google, Yahoo!, and

Hotmail, among others. The online services allow a user to set up an account with a

remote computing service that provides e-mail services as well as electronic storage of

computer files in any variety of formats. A user can set up an online storage account

from any computer with access to the Internet. Evidence of such online storage of child

pornography is often found on the user’s computer. Even in cases where online storage is

used, however, evidence of child pornography can be found on the user’s computer in

most cases.


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               f.      As is the case with most digital technology, communications by way of

       computer can be saved or stored on the computer used for these purposes. Storing this

       information can be intentional, i.e., by saving an e-mail as a file on the computer or

       saving the location of one’s favorite websites in, for example, “bookmarked” files.

       Digital information can also be retained unintentionally, e.g., traces of the path of an

       electronic communication may be automatically stored in many places (e.g., temporary

       files or ISP client software, among others). In addition to electronic communications, a

       computer user’s Internet activities generally leave traces or “footprints” in the web cache

       and history files of the browser used.

               g.      Some information stored within a computer or electronic storage media

       may provide crucial evidence relating to the physical location of other evidence, suspects,

       victims, or other users of Website A. For example, the file data for images stored on a

       computer may provide geolocation information or information indicating when the file or

       image was created.
      VIII. SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

       91.     As described above and in Attachment B, this application seeks permission to

search for records that might be found on MENDONSA’s person, in whatever form they are

found. One form in which the records are likely to be found is data stored on a computer’s hard

drive or other storage media. Thus, the warrant applied for would authorize the seizure of

electronic storage media or, potentially, the copying of electronically stored information, all

under Rule 41(e)(2)(B).

       92.     Based on my training, experience, and information provided by other law

enforcement officers, I know that many cell phones (which are included in Attachment B’s

definition of “hardware”) can now function essentially as small computers. Phones have

capabilities that include serving as a wireless telephone to make audio calls, digital camera,

portable media player, GPS navigation device, sending and receiving text messages and emails,

accessing the internet, and storing a range and amount of electronic data. Examining data stored


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on devices of this type can uncover, among other things, evidence of communications and

evidence of communications and evidence that reveals or suggests who possessed or used the

device.

          93.     I submit that if a computer or storage medium is found on the person of

MENDONSA, there is probable cause to believe those records referenced above will be stored

on that computer or storage medium, for at least the following reasons:

                  a.      Based on my knowledge, training, and experience, I know that computer

          files or remnants of such files can be recovered months or even years after they have been

          downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

          downloaded to a storage medium can be stored for years at little or no cost.

                  b.      Even when files have been deleted, they can be recovered months or years

          later using forensic tools. This is so because when a person “deletes” a file on a

          computer, the data contained in the file does not actually disappear; rather, that data

          remains on the storage medium until it is overwritten by new data. Deleted files, or

          remnants of deleted files, may reside in free space or slack space—that is, in space on the

          storage medium that is not currently being used by an active file—for long periods of

          time before they are overwritten. In addition, a computer’s operating system may also
          keep a record of deleted data in a “swap” or “recovery” file.

                  c.      Wholly apart from user-generated files, computer storage media—in

          particular, computers’ internal hard drives—contain electronic evidence of how a

          computer has been used, what it has been used for, and who has used it. This forensic

          evidence can take the form of operating system configurations, artifacts from operating

          system or application operation, file system data structures, and virtual memory “swap”

          or paging files. It is technically possible to delete this information, but computer users

          typically do not erase or delete this evidence because special software is typically

          required for that task.




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               d.     Similarly, files that have been viewed via the Internet are sometimes

       automatically downloaded into a temporary Internet directory or “cache.” An internet

       browser often maintains a fixed amount of hard drive space devoted to these files, and the

       files are overwritten only as they are replaced with more recently viewed Internet pages

       or if a user takes steps to delete them.

       94.     As further described in Attachment B, this application seeks permission to locate

not only computer files that might serve as direct evidence of the crimes described on the

warrant, but also for forensic electronic evidence that establishes how computers were used, the

purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on any storage medium on MENDONSA’s person because:

               a.     Data on the storage medium can provide evidence of a file that was once

       on the storage medium but has since been deleted or edited, or of a deleted portion of a

       file (such as a paragraph that has been deleted from a word processing file). Virtual

       memory paging systems can leave traces of information on the storage medium that show

       what tasks and processes were recently active. Web browsers, e-mail programs, and chat

       programs store configuration information on the storage medium that can reveal

       information such as online nicknames and passwords. Operating systems can record
       additional information, such as the attachment of peripherals, the attachment of USB

       flash storage devices or other external storage media, and the times the computer was in

       use. Computer file systems can record information about the dates files were created and

       the sequence in which they were created, although this information can later be falsified.

               b.     Information stored within a computer and other electronic storage media

       may provide crucial evidence of the “who, what, why, when, where, and how” of the

       criminal conduct under investigation, thus enabling the United States to establish and

       prove each element or alternatively, to exclude the innocent from further suspicion. In

       my training and experience, information stored within a computer or storage media (e.g.,

       registry information, communications, images and movies, transactional information,


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records of session times and durations, internet history, and anti-virus, spyware, and

malware detection programs) can indicate who has used or controlled the computer or

storage media. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence. The existence or absence of

anti-virus, spyware, and malware detection programs may indicate whether the computer

was remotely accessed, thus inculpating or exculpating the computer owner. Further,

computer and storage media activity can indicate how and when the computer or storage

media was accessed or used. For example, computers typically contain information that

logs: computer user account session times and durations, computer activity associated

with user accounts, electronic storage media that connected with the computer, and the IP

addresses through which the computer accessed networks and the Internet. Such

information allows investigators to understand the chronological context of computer or

electronic storage media access, use, and events relating to the crime under investigation.

Additionally, some information stored within a computer or electronic storage media may

provide crucial evidence relating to the physical location of other evidence and the

suspect. For example, images stored on a computer may both show a particular location

and have geolocation information incorporated into its file data. Such file data typically
also contains information indicating when the file or image was created. The existence of

such image files, along with external device connection logs, may also indicate the

presence of additional electronic storage media (e.g., a digital camera or cellular phone

with an incorporated camera). The geographic and timeline information described herein

may either inculpate or exculpate the computer user. Last, information stored within a

computer may provide relevant insight into the computer user’s state of mind as it relates

to the offense under investigation. For example, information within the computer may

indicate the owner’s motive and intent to commit a crime (e.g., internet searches

indicating criminal planning), or consciousness of guilt (e.g., running a “wiping” program




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to destroy evidence on the computer or password protecting/encrypting such evidence in

an effort to conceal it from law enforcement).

        c.      A person with appropriate familiarity with how a computer works can,

after examining this forensic evidence in its proper context, draw conclusions about how

computers were used, the purpose of their use, who used them, and when.

        d.      The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a storage medium that are necessary to draw an

accurate conclusion is a dynamic process. While it is possible to specify in advance the

records to be sought, computer evidence is not always data that can be merely reviewed

by a review team and passed along to investigators. Whether data stored on a computer

is evidence may depend on other information stored on the computer and the application

of knowledge about how a computer behaves. Therefore, contextual information

necessary to understand other evidence also falls within the scope of the warrant.

        e.      Further, in finding evidence of how a computer was used, the purpose of

its use, who used it, and when, sometimes it is necessary to establish that a particular

thing is not present on a storage medium. For example, the presence or absence of

counter-forensic programs or anti-virus programs (and associated data) may be relevant
to establishing the user’s intent.

        f.      I know that when an individual uses a computer to obtain or access child

pornography, the individual’s computer will generally serve both as an instrumentality

for committing the crime, and also as a storage medium for evidence of the crime. The

computer is an instrumentality of the crime because it is used as a means of committing

the criminal offense. The computer is also likely to be a storage medium for evidence of

crime. From my training and experience, I believe that a computer used to commit a

crime of this type may contain: data that is evidence of how the computer was used; data

that was sent or received; notes as to how the criminal conduct was achieved; records of




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       Internet discussions about the crime; and other records that indicate the nature of the

       offense.

       95.     Based upon my training and experience and information relayed to me by agents

and others involved in the forensic examination of computers, I know that computer data can be

stored on a variety of systems and storage devices, including external and internal hard drives,

flash drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards,

cellular phones capable of storage, floppy disks, compact disks, magnetic tapes, memory cards,

memory chips, and online or offsite storage servers maintained by corporations, including but

not limited to “cloud” storage. I also know that during the search of the premises it is not always

possible to search computer equipment and storage devices for data for a number of reasons,

including the following:

               a.     Searching computer systems is a highly technical process that requires

       specific expertise and specialized equipment. There are so many types of computer

       hardware and software in use today that it is impossible to bring to the search website all

       of the technical manuals and specialized equipment necessary to conduct a thorough

       search. In addition, it may also be necessary to consult with computer personnel who

       have specific expertise in the type of computer, software, or operating system that is
       being searched;

               b.     Searching computer systems requires the use of precise, scientific

       procedures which are designed to maintain the integrity of the evidence and to recover

       “hidden,” erased, compressed, encrypted, or password-protected data. Computer

       hardware and storage devices may contain “booby traps” that destroy or alter data if

       certain procedures are not scrupulously followed. Since computer data is particularly

       vulnerable to inadvertent or intentional modification or destruction, a controlled

       environment, such as a law enforcement laboratory, is essential to conducting a complete

       and accurate analysis of the equipment and storage devices from which the data will be

       extracted;


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               c.      The volume of data stored on many computer systems and storage devices

       will typically be so large that it will be highly impractical to search for data during the

       execution of the physical search of the premises; and

               d.      Computer users can attempt to conceal data within computer equipment

       and storage devices through a number of methods, including the use of innocuous or

       misleading filenames and extensions. For example, files with the extension “.jpg” often

       are image files; however, a user can easily change the extension to “.txt” to conceal the

       image and make it appear that the file contains text. Computer users can also attempt to

       conceal data by using encryption, which means that a password or device, such as a

       “dongle” or “keycard,” is necessary to decrypt the data into readable form. In addition,

       computer users can conceal data within another seemingly unrelated and innocuous file in

       a process called “steganography.” For example, by using steganography a computer user

       can conceal text in an image file which cannot be viewed when the image file is opened.

       Therefore, a substantial amount of time is necessary to extract and sort through data that

       is concealed or encrypted to determine whether it is contraband, evidence, fruits, or

       instrumentalities of a crime.

       96.     Additionally, based upon my training and experience and information relayed to
me by agents and others involved in the forensic examination of computers, I know that routers,

modems, and network equipment used to connect computers to the Internet often provide

valuable evidence of, and are instrumentalities of, a crime. This is equally true of wireless

routers, which create localized networks that allow individuals to connect to the Internet

wirelessly. Though wireless networks may be secured (in that they require an individual to enter

an alphanumeric key or password before gaining access to the network) or unsecured (in that an

individual may access the wireless network without a key or password), wireless routers for both

secured and unsecured wireless networks may yield significant evidence of, or serve as

instrumentalities of, a crime—including, for example, serving as the instrument through which

the perpetrator of the Internet-based crime connected to the Internet and, potentially, containing


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logging information regarding the time and date of a perpetrator’s network activity as well as

identifying information for the specific device(s) the perpetrator used to access the network.

Moreover, I know that individuals who have set up either a secured or unsecured wireless

network in their residence are often among the primary users of that wireless network.

       97.     Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am

applying for would permit seizing, imaging, or otherwise copying storage media that reasonably

appear to contain some or all of the evidence described in the warrant, and would authorize a

later review of the media or information consistent with the warrant. The later review may

require techniques, including but not limited to computer-assisted scans of the entire medium,

that might expose many parts of a hard drive to human inspection in order to determine whether

it is evidence described by the warrant.

       98.     Contextual evidence establishes how computers were used, the purpose of their

use, and who used them is a conclusion, based on a review of all available facts and the

application of knowledge about how a computer behaves. Therefore, such evidence necessary to

understand the evidence described in Attachment B is included within the scope of this warrant

and will seized.

       99.     Further, I request judicial authorization to retain copies of all seized storage media
after the review is complete, pursuant to Fed. R. Crim. P. 41 (f)(1)(B) (“The officer may retain a

copy of the electronically stored information that was seized or copied.”).

       100.    That Judicial authorization is justified in this case in part because:

               a.      Should the execution of the warrant uncover data that may later need to be

       introduced into evidence during a trial or other proceeding, the authenticity and the

       integrity of the evidence and the government’s forensic methodology may be contested

       issues. Retaining copies of seized storage media may be required to prove these facts and

       the investigator may retain a copy of seized or electronically stored information pursuant

       to Fed. R. Crim. P. 41(f)(1)(B).




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               b.      Returning the original storage medium to its owner will not allow for the

       preservation of that evidence. Even routine use may forever change the data it contains,

       alter system access times, or eliminate data stored on it.

               c.      Because the investigation is not yet complete, it is not possible to predict

       all possible defendants against whom evidence found on the storage medium might be

       used. That evidence might be used against persons who have no possessory interest in

       the storage media, or against persons yet unknown. Retention of a complete image

       assures that it will be available to all parties, including those known now and those later

       identified. Forensic analysis may identify the user names and screen names of those

       distributing child pornography to the user of the target computer(s).

               d.      The act of destroying or returning storage medium could create an

       opportunity for a defendant to claim, falsely, that the destroyed or returned storage

       medium contained evidence favorable to him. Maintaining a copy of the storage medium

       would permit the government, through additional warrant if necessary, to investigate such

       a claim.

               e.      Similarly, should a defendant suggest an explanation for the presence of

       evidence on storage medium or some defense, it may be necessary to investigate such an
       explanation or defense by, among other things, re-examining the storage medium with

       that explanation or defense in mind. This may require an additional examination of the

       storage medium for evidence that is described in Attachment B but was not properly

       identified and segregated previously.

       101.    I have not attempted to acquire the sought after material through any other

investigative or judicial process.

       102.    If the items are not subject to seizure pursuant to Federal Rule of Criminal

Procedure 41(b), the government will return these items in a reasonable amount of time not to

exceed 180 days from the date of seizure unless further authorization is obtained from the Court.

Due to the review team protocols described below, the examination and evaluation of seized


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electronic devices is expected to take a considerable amount of time due to the limited forensic

resources available.

                               IX.       REQUEST FOR SEALING

       103.    Finally, I respectfully request that this Court issue an order restricting, until

further order of the Court, this case, to include, the Application and Search Warrant. I believe

that restricting these documents are necessary to protect the identity of cooperating individuals,

because the items and information to be seized are relevant to an ongoing investigation into a

criminal organization, and not all of the targets of this investigation will be searched at this time.

Based upon my training and experience, I have learned that online criminals actively search for

criminal Affidavits and Search Warrants via the Internet and disseminate them to others actively

seeking out information over the Web and other sources concerning law enforcement activity in

this arena. Accordingly, premature disclosure of the contents of this Affidavit and related

documents may have a significant and negative impact on the continuing investigation and may

severely jeopardize its effectiveness.
                                      X.      CONCLUSION

       104.    Based on the foregoing, I submit there is probable cause to believe that the federal

criminal statutes cited herein have been violated, and that the contraband, property, evidence,

fruits, and instrumentalities of these offenses, more fully described in Attachment B of this

Affidavit, are located on MENDONSA and at the SUBJECT PREMISES and the SECOND

SUBJECT PREMSIES, as more fully described in Attachments A-1, A-2, and A-3.

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I respectfully request that this Court issue a warrant for the person and locations described in

Attachment A-1, A-2, and A-3 authorizing the seizure and search of the items described in

Attachment B.



I swear, under the penalty of perjury, that the foregoing information is true and correct to the best

of my knowledge, information, and belief.


/s/ Caitlin Thomas
Caitlin Thomas
Special Agent
Homeland Security Investigations

Approved as to form:



Emily Sauvageau
Assistant United States Attorney




Telephonically Sworn and Subscribed to me on November 28, 2022



______________________________________
Hon. Allison Claire
United States Magistrate Judge
Eastern District of California




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                           ATTACHMENT A-1
                       PERSON TO BE SEARCHED


NAME: LOUIS DONALD MENDONSA
SEX: M
HGT: 600
WGT: 240
HAIR: GRY
EYES: BLU
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                                   ATTACHMENT A-2
  LOCATION OF STARBUCKS LOCATED AT 1601 P STREET, THE FREEMONT
                         BUILDING, SACRAMENTO, CA 95814


The belongings of MENDONSA kept in the west wing of Starbucks in or around the chair and
table in which MENDONSA regularly sits and utililzes digital devices.
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                                   ATTACHMENT A-3
LOCATION OF SECOND SUBJECT RESIDENCE LOCATED AT 1612 18th STREET,
                                SACRAMENTO, CA 95814


The porch of the residence located at 1612 18th Street in which MENDONSA has been
observed on November 2, 4, and 10, 2022 leaving his belongings during the day.
MENDONSA’s belongings have been observed to be located on the left side of the porch.
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                                     ATTACHMENT B
                                  ITEMS TO BE SEIZED


I.   All records, in whatever form, and tangible objects that constitute evidence, fruits, or

     instrumentalities of violations of 18 U.S.C. § 2252 (distribution, receipt, possession, and

     access with intent of child pornography and the attempt and conspiracy of such offenses),

     and 18 U.S.C. § 2251(d) (advertisement and attempted advertisement of child

     pornography) (the SUBJECT OFFENSES), including:

        A. Records and tangible objects pertaining to the following topics:

            1.      Images or visual depictions of child pornography;

            2.      Child erotica, including text, images, and visual depictions;

            3.      Communications about child pornography or sexual activity with or sexual
                    interest in minors;

            4.      Internet activity reflecting a sexual interest in minors or child pornography;

            5.      Information concerning the minor subject of any visual depiction of child
                    pornography, child erotica, sexual activity with other minors or adults, or of
                    sexual interest, or that may be helpful in identifying any such minor;

            6.      Address books (virtual and physical), names, and lists of names and
                    addresses of individuals who may have been contacted by use of the
                    computer or by other means for the purpose of committing violations of the
                    subject offenses;

            7.      Website A, Website B, Website C, Website D, along with all other Tor
                    hidden services websites pertaining to the trafficking of child sexual abuse
                    material and/or child erotica;

            8.      SUBJECT USERNAME 1, SUBJECT USERNAME 2, SUBJECT
                    USERNAME 3, SUBJECT USERNAME 4, along with any other Tor
                    username located on the seized devices;

            9.      Membership in online groups, clubs, or services that provide, make
                    accessible, or otherwise concern child pornography; and

            10.     The existence of e-mail accounts, online storage, or other remote computer
                    storage; Passwords or keys used to access websites and account logins
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                     related to the conduct described herein; PGP keys and passphrases; any and
                     all cryptocurrency and associated account information related to
                     cryptocurrency that is related to the conduct described herein.

         B. Records and tangible objects pertaining to the existence, identity, and travel of any
            co-conspirators, as well as any co-conspirators’ acts taken in furtherance of the
            crimes listed above;

         C. Records and tangible objects relating to the ownership, occupancy, or use of the
            premises to be searched (such as utility bills, phone bills, rent/mortgage payments,
            photographs, insurance documentation, receipts, and check registers);

         D. For any computer hardware, computer software, mobile phones, or storage media
            called for by this warrant or that might contain things otherwise called for by this
            warrant (“the computer equipment”):

             1.      evidence of who used, owned, or controlled the computer equipment;

             2.      evidence of the presence or absence of malicious software that would allow
                     others to control the items, and evidence of the presence or absence of
                     security software designed to detect malicious software;

             3.      evidence of the attachment of other computer hardware or storage media;

             4.      evidence of counter-forensic programs (and associated data) that are
                     designed to eliminate data;

             5.      evidence of how and when the computer equipment was used or accessed;

             6.      records of or information about any Internet Protocol addresses used;

             7.      passwords, encryption keys, and other access devices that may be necessary
                     to access the computer equipment;

             8.      contextual information necessary to understand the evidence described in
                     this attachment;

             9.      records and tangible objects pertaining to accounts held with companies
                     providing Internet access or remote storage; and

II.   All computer hardware, computer software, and storage media. Off-site searching of

      these items shall be limited to searching for the items described in Paragraph I.



THE SEIZURE OF DIGITAL DEVICES OR OTHER ELECTRONIC STORAGE MEDIA
AND/OR THEIR COMPONENTS AS SET FORTH HEREIN IS SPECIFICALLY
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AUTHORIZED BY THIS SEARCH WARRANT, NOT ONLY TO THE EXTENT THAT
SUCH DIGITAL DEVICES OR OTHER ELECTRONIC STORAGE MEDIA CONSTITUTE
INSTRUMENTALITIES OF THE CRIMINAL ACTIVITY DESCRIBED ABOVE, BUT ALSO
FOR THE PURPOSE OF CONDUCTING OFF-SITE EXAMINATIONS OF THEIR
CONTENTS FOR EVIDENCE, INSTRUMENTALITIES, OR FRUITS OF THE
AFOREMENTIONED CRIME.
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                            United States v. LOUIS MENDONSA
                              Penalties for Criminal Complaint


Defendant
LOUIS MENDONSA

COUNT 1:         LOUIS MENDONSA

VIOLATION:       18 U.S.C. § 2252(a)(2) – Distribution of Material Involving the Sexual Exploitation of
                 Children

PENALTIES:       Mandatory minimum of 5 years in prison and a maximum of 20 years in prison; or
                 Fine of up to $250,000; or both fine and imprisonment;
                 Supervised release of at least 5 years up to life (18 U.S.C. § 3583(k));
                 Mandatory restitution for victims (18 U.S.C. §§ 2259 and 3663)

SPECIAL ASSESSMENT: $100
